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                              No. 23-30445
             UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT
          ________________________________________________

 STATE OF MISSOURI; STATE OF LOUISIANA; AARON KHERIATY;
MARTIN KULLDORFF; JIM HOFT; JAYANTA BHATTACHARYA; JILL
                           HINES,
                     Plaintiffs-Appellees,
                                   v.
  JOSEPH R. BIDEN, JR.; VIVEK H. MURTHY; XAVIER BECERRA;
   DEPARTMENT OF HEALTH & HUMAN SERVICES; ANTHONY
                             FAUCI; et al.
                        Defendants-Appellants,
      _______________________________________________________
            On Appeal from the United States District Court
        for the Western District of Louisiana (No. 3:22-cv-1213)
             The Honorable Terry A. Doughty, Chief Judge
      _______________________________________________________
 BRIEF OF AMICI CURIAE LAWYERS’ COMMITTEE FOR CIVIL
  RIGHTS UNDER LAW, BRENNAN CENTER FOR JUSTICE AT
NYU LAW, AND COMMON CAUSE IN SUPPORT OF DEFENDANT-
                  APPELLANTS AND VACATUR
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           CERTIFICATE OF INTERESTED PERSONS

     The undersigned counsel of record certifies that the following

listed persons and entities as described in the fourth sentence of Rule

28.2.1 have an interest in the outcome of this case. These

representations are made in order that the judges of this court may

evaluate possible disqualification or recusal.

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                     INTERESTS OF AMICI CURIAE1

       Formed in 1963, the Lawyers’ Committee for Civil Rights Under

 Law is a nonpartisan, nonprofit organization that uses legal advocacy

 to achieve racial justice, fighting inside and outside the courts to ensure

 that Black people and other people of color have the voice, opportunity,

 and power to make the promises of our democracy real. It has a national

 voting rights litigation practice, see, e.g., Arizona v. Inter-Tribal

 Council of Ariz., Inc., 570 U.S. 1 (2013); Shelby County v. Holder, 570

 U.S. 529 (2013), and it routinely participates in cases concerning online

 speech and voter intimidation, see, e.g., Gonzalez v. Google LLC, 143 S.

 Ct. 1191 (2023); Counterman v. Colorado, 143 S. Ct. 2106 (2023); Nat’l

 Coal. on Black Civic Participation v. Wohl, __F.Supp.3d__, 2023 WL

 2403012 (S.D.N.Y Mar. 8, 2023).

       The Brennan Center for Justice at NYU School of Law 2 is an

 independent, nonpartisan law and policy organization that works to

 strengthen, revitalize, and when necessary, defend our country’s



1 No counsel for any party authored this brief in whole or in part, and no person or

entity other than amici or their counsel made a monetary contribution for
preparation or submission of this brief. Pursuant to Fed. R. App. Proc. 29(a), all
parties have consented to the filing of this brief.
2 This brief does not purport to convey the position, if any, of NYU School of Law.



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systems of democracy and justice. Protecting free and fair elections

against threats, including from disinformation campaigns about their

integrity, is central to the mission of the Brennan Center. As part of

that work, the Brennan Center engages with election administrators

and community groups nationwide to help safeguard equal access to

voting. The Brennan Center regularly participates as counsel or amicus

curiae in federal and state litigation related to voting rights and

election integrity and security.

     Common Cause was founded as a nonpartisan “citizens lobby”

whose primary mission is to protect and defend the democratic process

and make government accountable to the interests of ordinary people.

Common Cause is one of the nation's leading democracy organizations

and currently has over 1.5 million members nationwide. Common

Cause promotes, on a nonpartisan basis, its members’ interest in open,

honest, and accountable government and political representation.

Common Cause has participated as a party or amicus curiae in

numerous Supreme Court, lower court, and state court actions related

to voting rights.




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     Amici are leading members of Election Protection, a nationwide,

nonpartisan coalition consisting of over 300 national, state, and local

partners working to ensure everyone has an equal access to vote, have

their vote count, and participate in democracy. In addition to providing

comprehensive information about voting, Election Protection also

operates a hotline that helps voters if they experience problems at the

polls or have questions about voting. During the 2020 election cycle, the

hotline fielded approximately 246,000 calls. Sometimes, Election

Protection may escalate a call to election officials, law enforcement, or

social media companies. Election Protection also shares aggregated

statistics obtained from these calls with election officials to further

election integrity.

     Amici and their ability to protect and defend the right to vote will

be affected by the outcome of this appeal. Amici respectfully submit this

brief to highlight the harm they will likely suffer if the district court’s

preliminary injunction is upheld and to urge the Court to vacate that

decision.




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                           INTRODUCTION

     The district court’s injunction is an unconstitutional prior

restraint on the rights of amici curiae and similar organizations to speak

freely and petition the government for a redress of grievances. The

injunction restricts Defendants, including the President, the Executive

Office of the President, the DOJ, the FBI, CISA, and other executive

agencies and their employees, from collaborating with the Election

Integrity Partnership, the Virality Project, the Stanford Internet

Observatory, “or any like project or group” for the purpose of “urging,

encouraging, pressuring, or inducing in any manner removal, deletion,

suppression, or reduction of content posted with social-media companies

containing protected free speech.” ROA.26613. The injunction also

restricts “all acting in concert” with Defendants. ROA.26614. Amici are

civil rights organizations engaged in voter protection activities,

including convening Election Protection, the largest nonpartisan

nonprofit voter protection operation in the nation. Core to this work,

amici communicate with social media companies and local, state, and

federal officials about election disinformation.




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     Disinformation is a major threat to the fabric of democracy. It can

be used to deceive or intimidate voters into not voting, generate violent

hostility toward election workers, and undermine trust in election

outcomes. Some forms of disinformation are illegal and can be litigated.

But often litigation is infeasible due to the scale of disinformation,

difficulty of identifying perpetrators, and limited resources of

prosecutors and civil society. It is also often too slow to address exigent

circumstances. Other times, disinformation may not be illegal but is

nonetheless harmful. Social media companies with content policies that

prohibit disinformation therefore play a vital role in preserving free and

fair elections. Government agencies and civil society can support those

efforts by sharing information on emerging threats and vulnerable

communities.

     Despite not being parties to the case, the injunction appears to

significantly undermine amici’s and an undefined but large number of

other groups’ right to communicate with federal, state, and local officials

about online disinformation that threatens the communities they serve.

Even if Defendants listened to amici, their inability to respond would

vitiate amici’s right to seek redress based on the content of the grievance



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being voiced. “The very idea of a government, republican in form, implies

a right on the part of its citizens to meet peaceably for consultation in

respect to public affairs and to petition for a redress of grievances.”

United States v. Cruikshank, 92 U.S. 542, 552 (1875). The injunction is

an unlawful infringement of that right. It is a content-based speech and

petition restriction that fails strict scrutiny. It also contravenes Federal

Rule of Civil Procedure 65. If affirmed, it would substantially undermine

the ability of amici to advocate for and protect the voting rights of all

Americans.

                       FACTUAL BACKGROUND

I.   MALICIOUS ACTORS ATTACK ELECTION INTEGRITY BY
     PROMULGATING DISINFORMATION AND
     INTIMIDATION ONLINE.

      The use of social media to disseminate false information—

 whether directly by malicious actors (disinformation) or by those

 unaware that the information is false (misinformation)—threatens free

 and fair elections. Such actions not only destabilize the election process

 itself, but also enable intimidation of voters and election officials and

 undermine the public’s trust in the outcome of elections. The vast

 online landscape, especially social media, offers ideal conditions for



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those hostile to voting rights to reach broad audiences while also

targeting specific individuals or communities.

     A.    Election Mis- and Disinformation on Social Media

     The spread of misinformation and disinformation online to

influence elections and disenfranchise voters is commonplace. Sylvia

Albert et al., As a Matter of Fact: The Harms Caused by Election

Disinformation Report, Common Cause Educ. Fund, at 12 (Oct. 2021)

(“Matter       of        Fact”),           https://www.commoncause.org/wp-

content/uploads/2021/10/CC_AsaMatterofFact_FINAL_10.27.21.pdf.

Traditionally, deceptive practices often involved narrow targeting by

geography, such as distributing flyers in certain neighborhoods. Ian

Vandewalker, Digital Disinformation and Voter Suppression, Brennan

Ctr. for Just. (Sept. 2, 2020). https://www.brennancenter.org/our-

work/research-reports/digital-disinformation-and-vote-suppression

(“Digital Disinformation”). Today, disinformation is spread through

online platforms. Matter of Fact at 12. Malicious actors use “sophisticated

microtargeting to surgically focus on certain demographics” and can

direct disinformation toward a specific local election or a national

audience. Digital Disinformation.



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      In the United States, malicious actors have repeatedly deployed

election falsehoods to confuse and deter voters. This threat persists as a

new presidential election approaches. Common forms of disinformation

include posting incorrect election dates or bogus election rules, often

targeted towards one demographic or political group; voter intimidation

targeted at communities of color; untrue claims about election security;

and untrue claims about postelection results. Matter of Fact at 15. For

example, in the leadup to the 2016 and 2018 elections, the false claim

that Immigration and Customs Enforcement (“ICE”) officers would be

patrolling the polls spread on social media. Blake Peterson, ICE,

Dispelling Rumors, Says It Won’t Patrol Polling Places, ProPublica (Nov.

2, 2019), https://www.propublica.org/article/ice-dispelling-rumors-says-

it-wont-patrol-polling-places. Social media posts about ICE presence at

polls are intended to chill participation in elections by those fearful of and

disproportionately     impacted    by       ICE    enforcement,      particularly

communities of color. Even though only U.S. citizens can vote,

naturalized citizens may fear being mistaken for a non-citizen and

unduly harassed, and voters with non-citizen family members may fear




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their relatives will be unfairly targeted if they are perceived to be

supporting an unpopular candidate.

       Similarly, false information has been disseminated during past

election cycles via social media to deter Black voter participation or trick

such voters out of casting a lawful ballot. In 2016, for example, a

prominent social media personality fraudulently promoted images and

tweets encouraging voters to cast their ballots online or via text message,

such as a fake advertisement purportedly on behalf of the Hillary Clinton

campaign showing a Black woman holding an “African Americans for

Hillary” sign and encouraging voters to “Avoid the Line” and “Vote from

Home.” Press Release, Social Media Influencer Douglass Mackey

Convicted of Election Interference in 2016 Presidential Race, U.S. Att’ys

Off.    E.D.N.Y.        (Mar.   31,   2023),        https://www.justice.gov/usao-

edny/pr/social-media-influencer-douglass-mackey-convicted-election-

interference-2016. While this instance of election interference resulted in

a conviction (id.), this is exceptionally rare. Prosecutors do not have the

resources to combat the huge scale of voter intimidation online.

       Likewise, in 2016, the Russian government used social media to

attempt to suppress Black turnout. See S. Rep. No. 42-193, 116th Cong.,



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1st Sess., Russian Active Measures Campaigns and Interference in the

2016 U.S. Election, Sen. Comm. on Intelligence, Vol. II at 35, 38-39 (Nov.

10, 2020), https://www.intelligence.senate.gov/publications/report-select-

committee-intelligence-united-states-senate-russian-active-measures.

The Senate Select Committee on Intelligence found that the Kremlin

used a private company, the Internet Research Agency (“IRA”), which

operated over 50,000 “troll” accounts on social media to influence the

public’s perception of the 2016 election. See id. at 18, 23-27. Much of this

content targeted Black audiences on Instagram, Twitter, and Facebook.

Id. at 49. For example, twelve IRA Instagram accounts with names like

@Blackstagram gained over 100,000 followers each. Id. These accounts

then disseminated narratives to discourage voting—like “Don’t Vote at

All,” “Why Would We Be Voting,” or “Our Votes Don’t Matter.” Id. at 35.

The Senate Intelligence Committee found that the IRA’s

     overwhelming operational emphasis on race was apparent on
     its Facebook advertisement content (over 66 percent
     contained a term related to race) and targeting (locational
     targeting was principally aimed at “African-Americans in key
     metropolitan areas with well-established black communities
     and flashpoints in the Black Lives Matter movement”), as well
     as its Facebook pages (one of the IRA’s top-performing pages,
     “Blacktivist,” generated 11.2 million engagements with
     Facebook users), its Instagram content (five of the top 10
     Instagram accounts were focused on African-American issues


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     and audiences), its Twitter content (heavily focused on hot-
     button issues with racial undertones such as the NFL
     kneeling protests), and its YouTube activity (96 percent of the
     IRA’s YouTube content was targeted at racial issues and
     police brutality).

Id. at 38–39.

     Disinformation on social media in non-English languages,

particularly Spanish, was also rampant in the 2020 and 2022 elections.

Tiffany Hsu, Misinformation Swirls in Non-English Languages Ahead of

Midterms,          N.Y.          Times           (Oct.         12,         2022),

https://www.nytimes.com/2022/10/12/business/media/midterms-foreign-

language-misinformation.html. And ahead of the 2022 midterm

elections, disinformation about election fraud, anti-discrimination

policies, and reproductive rights saturated WeChat, a social media

platform used by an estimated 60% of the Chinese American community.

Kimmy Yam, Right-Wing Disinformation Ramps Up on WeChat Ahead of

Midterms,       Report     Finds,     NBC       News       (Oct.     3,    2022),

https://www.nbcnews.com/news/asian-america/right-wing-

disinformation-ramps-wechat-ahead-midterms-report-finds-rcna50539.




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     When such falsehoods are spread at scale on the internet, even a

low rate of impact may disenfranchise significant numbers of voters and

threaten free and fair elections.

     B.    Intimidation of Election Officials

     Those who want to disrupt elections use social media to harass or

intimidate election officials. One common tactic is doxxing, which

involves publishing individuals’ personal information online so that

others can attack and harass them and their families. Matter of Fact, at

15-16; see Dumpson v. Ade, 2019 WL 3767171 (D.D.C. Aug. 9, 2019) (neo-

Nazi doxxed Black woman to cause coordinated harassment). Election

officials have experienced doxxing in recent elections. For example,

ahead of the 2018 midterms, the home addresses and phone numbers of

two Black women election officials in Florida were posted to Facebook

groups such as “Confederate Resistance.” Jerry Iannelli, Far-Right

Groups Just Doxxed Elections Supervisors Brenda Snipes and Susan

Bucher,       Mia.      New         Times           (Nov.       14,       2018),

https://www.miaminewtimes.com/news/broward-countys-brenda-snipes-

was-doxxed-online-10911462.




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      Election officials also experience intimidation as a result of doxxing

and disinformation amplified on social media. Georgia Republican

election official Gabriel Sterling lamented the threats workers in his

office received after the 2020 election: “Someone’s going to get hurt,

someone’s going to get shot, someone’s going to get killed.” Richard

Fausset, ‘It Has to Stop’: Georgia Election Official Lashes Trump, N.Y.

Times                      (Dec.                        1,                    2020),

https://www.nytimes.com/2020/12/01/us/politics/georgia-election-

trump.html. Both Democratic and Republican secretaries of state and

other election workers have been targeted by death threats and violent

intimidation. 3 Doxxing and other harassment on social media can

intimidate election officials and undermine election security.




3 Linda So, Trump-Inspired Death Threats Are Terrorizing Election Workers,

 Reuters (June 11, 2021), https://www.reuters.com/investigates/special-report/usa-
 trump-georgia-threats/; see also Marina Villeneuve, Justice Department details
 threats against election workers, AP (Aug. 3, 2022),
 https://apnews.com/article/2022-midterm-elections-violence-presidential-judiciary-
 5125682e179ac1234a97756a644e353c (DOJ task force investigated over “1,000
 harassing and threatening messages directed at election workers. Roughly 100 of
 those have risen to the level of potential prosecution.”).



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II.   SOCIAL MEDIA COMPANIES, GOVERNMENTS, AND
      CIVIL SOCIETY ALL HAVE A ROLE IN PROTECTING
      VOTING RIGHTS ONLINE.
      Civil society and government officials provide valuable information

to social media companies to help them design their policies and practices

to protect elections.

      Most major online platforms prohibit misrepresentations about

when, where, or how to vote; doxxing; threats; harassment; and—to

varying degrees—disinformation. 4 However, even when social media

companies have explicit policies, their enforcement varies significantly

and is often lacking. See, e.g., Free Press, Empty Promises: Inside Big

Tech’s Weak Effort to Fight Hate and Lies in 2022 at 8 (Oct. 2022),

https://www.freepress.net/sites/default/files/2022-

10/empty_promises_inside_big_techs_weak_effort_to_fight_hate_and_li

es_in_2022_free_press_final.pdf (rating efforts of Meta, TikTok, Twitter,



4 See Facebook’s Policies for Elections and Voting: What You Need to Know, Meta,

 https://scontent-lga3-2.xx.fbcdn.net/v/t39.8562-
 6/161983912_3722038201247705_6469333522919503736_n.pdf (last visited Jul.
 27, 2023); Community Guidelines, YouTube,
 https://www.youtube.com/howyoutubeworks/policies/community-guidelines/ (last
 visited Jul. 27. 2023); Community Guidelines, TikTok,
 https://www.tiktok.com/community-guidelines/en/overview/ (last visited Jul. 27.
 2023); see also Carnegie Endowment for Int’l Peace, How Social Media Platforms’
 Community Standards Address Influence Operations (Apr. 1, 2021),
 https://carnegieendowment.org/2021/04/01/how-social-media-platforms-
 community-standards-address-influence-operations-pub-84201.

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and YouTube “insufficient” at combatting hateful content and

disinformation).

        Social media companies rely on external engagement with civil

society to help develop their policies and obtain information about

ongoing threats. For example, Meta’s policies prohibiting voter

disinformation were developed in part through its civil rights audit,

which collected external feedback on voter suppression and election

disinformation on Facebook. See Meta, Facebook’s Civil Rights Audit –

Final     Report     at    6    (Jul.    8,    2020),    https://about.fb.com/wp-

content/uploads/2020/07/Civil-Rights-Audit-Final-Report.pdf.                      Some

platforms have “trusted partner” programs for civil society organizations

to flag harmful content for expedited review and to augment the

companies’ competency with different cultures and communities—such

as understanding regional slang.5 Social media companies also partner

with media organizations to help fact-check false information.6


5 About the YouTube Priority Flagger program, YouTube Help

https://support.google.com/youtube/answer/7554338?hl=en (last visited Jul. 27,
2023); Bringing local context to our global standards, Meta,
https://transparency.fb.com/policies/improving/bringing-local-context (last visited
Jul. 27, 2023).
6 See Olivia Ma, How Google and YouTube are investing in fact-checking, Keyword

(Nov. 29, 2022), https://blog.google/outreach-initiatives/google-news-initiative/how-



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      Information sharing between the federal government, state and

local governments, and the private sector, including social media

companies and nonprofit organizations, protects election integrity.7 Some

government programs counter election disinformation with accurate

information,      CISA,      Election      Security          Rumor    vs.    Reality

https://www.cisa.gov/rumor-vs-reality (last visited Jul. 27, 2023), while

others communicate with social media companies about disinformation

trends that harm vulnerable communities, see DHS Off. of Inspector

Gen., DHS Needs a Unified Strategy to Counter Disinformation

Campaigns         (Aug.        10,      2022),          at      5-6     &         n.22

https://www.oig.dhs.gov/sites/default/files/assets/2022-08/OIG-22-58-

Aug22.pdf. In 2020, Facebook, Twitter, and Reddit had monthly meetings

with DHS and CISA to discuss security threats and how to address

election misinformation. See David Ingram & Kevin Collier, Big Tech met

with govt to discuss how to handle election results, NBC News (Aug. 12,



google-and-youtube-are-investing-in-fact-checking/; Meta’s Third-Party Fact-
Checking Program, Meta, https://www.facebook.com/formedia/mjp/programs/third-
party-fact-checking (last visited Jul. 27, 2023).
7 Presidential Decision Directive 63 on Critical Infrastructure Protection: Sector

Coordinators, 63 Fed. Reg. 41804 (Aug. 5, 1998); Statement by Secretary Jeh
Johnson on the Designation of Election Infrastructure as a Critical Infrastructure
Subsector (Jan 6, 2017), https://www.dhs.gov/news/2017/01/06/statement-secretary-
johnson-designation-election-infrastructure-critical.

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2020),         https://www.nbcnews.com/tech/tech-news/big-tech-met-gov-t-

discuss-how-handle-election-results-n1236555. The companies said these

meetings were “necessary to protect the integrity” of the upcoming

elections, given the companies’ failures to prevent disinformation in the

2016 elections. See Elizabeth Dwoskin & Ellen Nakashima, Tech didn’t

spot Russian interference during the last election. Now it’s asking law

enforcement        for    help,     Wash.       Post     (Jun.      26,     2018),

https://www.washingtonpost.com/technology/2018/06/26/tech-didnt-spot-

russian-meddling-during-last-election-now-its-asking-law-enforcement-

help/.

         Voting rights experts recommend that state and local election

officials establish contacts at social media platforms to directly report

disinformation or hacking of official channels. See Election Integrity

Partnership, The Long Fuse: Misinformation and the 2020 Election, at

236                       (June                    15,                      2021),

https://stacks.stanford.edu/file/druid:tr171zs0069/EIP-Final-Report.pdf.

Voters who see false information online often call local officials to clear

up their confusion, so these officials can be the first to know when

disinformation is spreading and can alert platforms. See Brief of Amicus



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Curiae Brennan Center ISO Defendants, Ayyadurai v. Galvin, No. 1:20-

cv-11889 (D. Mass. May 19, 2021), ECF No. 105-1 at 5.

III. ELECTION PROTECTION WORKS WITH GOVERNMENT
     OFFICIALS AND SOCIAL MEDIA COMPANIES TO
     DEFEND ELECTION INTEGRITY.

      Countering election disinformation—including monitoring online

platforms, identifying disinformation and misinformation, pinpointing

responsible parties, and implementing solutions—requires a wide

range of actors. The national, nonpartisan Election Protection coalition

routinely engages with federal officials, local election officials, and

social media companies to address the proliferation of false information

related to voting and elections. While litigation may be able to redress

some instances of misinformation and disinformation, it is not

expedient enough to combat the volume and velocity of social media

content, nor is litigation always economically prudent—the tremendous

amount of time and resources required makes it crucial that

governmental and private entities continue to work together to identify

and mitigate these threats.

      Election Protection engages hundreds of volunteers who provide

voters with information, document problems voters encounter, host



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voter protection field programs, and work on the ground to identify and

remove barriers to voting. Election Protection is focused on defending

the right to vote and providing information to help all voters. Through

the 866-OUR-VOTE hotline, Election Protection helps voters find

information about registration and voting procedures, as well as

address problems at the polls, including intimidation. Members of the

coalition also periodically survey and speak with election officials,

gathering reports of harassment, threats, and intimidation that they

face online and in person. See Brennan Ctr. for Just. & Bipartisan Pol’y

Ctr., Election Officials Under Attack: How to Protect Administrators

and          Safeguard           Democracy              (June           2021),

https://www.brennancenter.org/our-work/policy-solutions/election-

officials-under-attack; Brennan Ctr. for Just., Local Election Officials

Survey (June 2021; March 2022; April 2023). Election Protection has a

team that monitors social media and other online platforms for election

disinformation, voter intimidation, and other threats to election

integrity.

      Amici have met with officials from DOJ, DHS, CISA, and other

federal agencies, as well as state and local officials, to relay information



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gathered    from      community    partners,     election   officials,   online

monitoring, and the hotline. The Lawyers’ Committee has submitted

complaints concerning online election disinformation, violent threats

against voters and officials, and other forms of voter suppression to

federal agencies such as the FBI and FCC. See, e.g., In re Burkman,

Forfeiture Order, FCC 23-44, No. EB-TCD-21-00032652 (FCC June 6,

2023) (voter intimidation robocalls). Before elections, DOJ asks

Election Protection about concerns being reported to the hotline and for

recommendations about where to send poll observers. The availability

of these communication channels fosters collaboration and enables

federal agencies to use the information to protect the safety and

integrity of elections, including by better allocating limited resources to

protect the security of election officials and voters.

     Election Protection also works with major social media companies

to alert them to polling place disruptions, evolving threats to voters and

election officials, and disinformation that violates platforms’ rules. Like

government officials, social media companies rely on Election

Protection to give them insight into the experiences of users so that the




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 companies can better understand the threat landscape on their

 platforms.

                             ARGUMENT

I.   THE INJUNCTION VIOLATES THE FIRST AMENDMENT
     RIGHTS OF AMICI AND OTHER CIVIL SOCIETY
     ORGANIZATIONS DEDICATED TO ENSURING FREE AND
     FAIR ELECTIONS.

      Defendants correctly note that the district court’s injunction

 suffers from numerous legal errors related to the merits of the case and

 the court’s equitable authority, including vagueness and overbreadth,

 uncertainty as to who is bound by the injunction and what is proscribed,

 and exceptions that contradict the proscribed conduct. But those are

 not the only fundamental defects plaguing the injunction. It also

 violates the First Amendment rights of a wide swath of nonparty

 individuals and organizations.

      The injunction is an unconstitutional, content-based prior

 restraint on free speech and the First Amendment right to petition the

 government because it prohibits the government from communicating

 with civil society organizations, including amici, regarding particular

 subjects. These prohibitions fail strict scrutiny, as they sweepingly

 prohibit, without justification, speaking and petitioning regarding


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election disinformation and are so vague that they fail to provide

adequate notice of what is prohibited. As a result, critical efforts to

promote election integrity and address voter intimidation will be

chilled.

     A.    The Injunction Is a Prior Restraint on Amici’s Free
           Speech.

      The injunction is a content-based prior restraint on amici’s right

to speak to government officials.

      It is well settled in this Circuit that injunctions prohibiting future

communication between specified persons are prior restraints on free

speech. See Test Masters Educ. Servs., Inc. v. Singh, 428 F.3d 559, 579

(5th Cir. 2005) (citing Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 70

(1963)); see also Org. for a Better Austin v. Keefe, 402 U.S. 415, 419

(1971) (treating temporary injunction as a prior restraint on free

speech). And that is precisely what the injunction in this case does. As

relevant to amici’s work through Election Protection—and to other

organizations dedicated to ensuring free and fair elections—the

injunction prohibits the federal government officials from:

     collaborating, coordinating, partnering, switchboarding,
     and/or jointly working with the Election Integrity
     Partnership, the Virality Project, the Stanford Internet


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    Observatory, or any like project or group for the purpose of
    urging, encouraging, pressuring, or inducing in any manner
    removal, deletion, suppression, or reduction of content posted
    with social media companies.

ROA.26613.

     Each of these actions necessarily requires communication with

organizations, including amici, dedicated to protecting voters and

ensuring     access   to   accurate        information.     Indeed,     banning

“switchboarding” prohibits communication between Defendants and

organizations like amici, as the district court defines switchboarding as

“forward[ing] information to [Defendants]” to “in turn share . . . with

the social-media companies.” ROA.26522.

     The injunction’s ban on collaboration and information sharing for

certain purposes is also indisputably content-based. The ban explicitly

turns on the purpose and substance of communications with

organizations like amici, so plainly “applies to particular speech

because of the topic discussed or the idea expressed.” Reed v. Town of

Gilbert, Ariz., 576 U.S. 155, 163 (2015).

     This content-based speech ban is not just a restraint on

Defendants’ speech; it also restrains the voter protection organizations

that would otherwise speak with Defendants. Specifically, the


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injunction purports to prohibit “all acting in concert with” Defendants

related to the injunction’s prohibited conduct. ROA.26614. While the

district court did not define what constitutes “acting in concert with”

Defendants, the implication of this pronouncement is clear: Nonparties

beware; this injunction may apply to you.

    B.    The Injunction Infringes Amici’s Right to Petition the
          Government.

     Separate and apart from whether the injunction chills amici’s free

speech, the content-based speech ban also infringes amici’s First

Amendment right to petition the government for a redress of

grievances.

     The right to petition is “one of the most precious of the liberties

safeguarded by the Bill of Rights.” Lozman v. City of Riviera Beach, 138

S. Ct. 1945, 1954-55 (2018) (cleaned up). It “allows citizens to express

their ideas, hopes and concerns to their government and their elected

representatives.” Borough of Duryea v. Guarnieri, 564 U.S. 379, 388

(2011).

     The right to petition “extends to all departments of the

Government.” BE & K Constr. Co. v. NLRB, 536 U.S. 516, 525 (2002);

see also Gates v. City of Dallas, 729 F.2d 343, 345 (5th Cir. 1984); United


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States v. Young, 231 F. Supp. 3d 33, 104 (M.D. La. 2017) (right to

petition extends to lobbying). This right, central to the nation’s

founding, encompasses citizens communicating concerns to federal and

state government bodies tasked with protecting the right to vote. See

Bernstein v. Sims, __F Supp. 3d __, 2022 WL 17365233, at *5 (E.D.N.C.

Dec. 1, 2022) (issuing preliminary injunction against county board of

elections, which had barred plaintiff from attending public board

meetings).

     Section five of the injunction guts amici’s and other voter

protection organizations’ right to petition the government about vitally

important election security issues. As discussed above, the injunction,

in all its opacity, could be read to prohibit the very federal agencies

tasked with protecting the right to vote—DOJ, the FBI, and CISA—from

receiving    and   sharing    information       from    amici    about    election

disinformation or voter intimidation. ROA.26613.

     The     injunction’s     broader    ban      on    government        agencies

collaborating or coordinating “in any way” with amici and other voter

protection    organizations     regarding       broad     swaths     of   election

disinformation, misinformation, and voter intimidation on social media



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prohibits two-way communication necessary for a redress of grievances.

See id. Even if there was no limit on amici’s ability to talk to Defendants

about disinformation or misinformation on social media, the agencies

would be legally precluded from listening, much less taking any

constitutionally valid action in response. This renders amici’s petition

rights illusory.

      C.    The Injunction Fails Strict Scrutiny.

       As a content-based prior restraint on free speech and the right to

 petition, the injunction is subject to strict scrutiny. See Reed, 576 U.S.

 at 163-64; Wayte v. United States, 470 U.S. 598, 610 n.11 (1985) (speech

 and petition are “generally subject to the same constitutional

 analysis”).       Accordingly,   the        injunction      is    “presumptively

 unconstitutional and may be justified only if the government proves

 that [it is] narrowly tailored to serve compelling state interests.” Reed,

 576 U.S. at 163; see also Carroll v. President & Comm’rs of Princess

 Anne, 393 U.S. 175, 183 (1968) (an injunction “must be couched in the

 narrowest terms that will accomplish the pin-pointed objective”).

       An injunction cannot satisfy this test where its scope exceeds its

purpose. See Test Masters, 428 F.3d at 570 (prohibition on



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“communicating directly with, threatening, or harassing Test Masters

Educational Services, Inc., its employees, staff, counsel, counsel’s

employees, or counsel’s staff” was an unconstitutional prior restraint

because it prohibited “all communication” and not just unprotected

harassment); cf. Fed. Election Comm’n v. Wisc. Right to Life, 551 U.S.

449, 478 (2007) (“A court applying strict scrutiny must ensure that a

compelling interest supports each application of a statute restricting

speech.” (emphasis in original)). Even an injunction that seeks to limit

only unprotected speech or conduct cannot withstand scrutiny if its

guardrails are so vague that parties cannot fairly determine what

speech is permitted or prohibited. Metro. Opera Ass’n, Inc. v. Local 100,

Hotel Emps. & Rest. Emps. Int’l Union, 239 F.3d 172, 176 (2d Cir. 2001).

     The injunction here fails the narrow tailoring requirement on

both overbreadth and vagueness grounds.

     First, the injunction is not narrowly tailored to the asserted

interest of halting unconstitutional government coercion. For example,

the injunction against switchboarding prohibits merely communicating

information for disfavored purposes, even when that communication

does not amount to coercion. See ROA.26613. Moreover, the injunction



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restrains an untold number of non-governmental entities from

communicating with the government—potentially including amici—

regardless of whether they were involved in the alleged wrongs or

underlying facts. By resort to language such as “and like companies”

and “or any like project or group,” the injunction appears to be limitless

in application. Id. This sweeps far broader than any alleged

constitutional violation the injunction seeks to remedy.

     The injunction’s exceptions further confirm its lack of tailoring.

For example, by carving out only “criminal efforts to suppress voting,”

ROA.26614 (emphasis added), the injunction still prohibits amici from

reporting to Defendants voter intimidation that can only be challenged

civilly. See, e.g., 52 U.S.C. § 10308(d)-(e); 42 U.S.C. § 1985(3). By the

injunction’s terms, then, amici cannot even report to DOJ’s Civil Rights

Division the doxxing of minority voters or voters affiliated with a

particular religion or political party, as doxxing may not always be

criminal but may still cause civilly actionable voter intimidation. Cf.

Wohl, 2023 WL 2403012, at *22 (robocall that deceptively threatened

“that a voter’s private information will become exposed if that person

votes by mail” violated Voting Rights Act). Moreover, it may be unclear



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at the outset whether an act is a crime (covered by the exception) or

non-criminal (protected by the injunction), exacerbating the risk of

violating the injunction. By inhibiting voter protection organizations

from reporting grave civil rights concerns to the proper agency, the

injunction strikes at the very core of the First Amendment’s free speech

and petition protections. The injunction should be vacated as

insufficiently tailored. See Test Masters, 428 F.3d at 570 (injunction

held overbroad where court did not identify circumstances justifying

prohibition on “all communication” between specified parties).

     Second, the injunction’s vague text fails to provide organizations

like amici with adequate guidance as to what speech is prohibited.

     Injunctions do not provide adequate guidance where they

proscribe vast swaths of expressive conduct without defining what

conduct crosses the line. Illustrative is Metropolitan Opera, where the

Second Circuit vacated an injunction prohibiting various types of

speech that generally are unprotected by the First Amendment,

including “engaging in fraudulent or defamatory representations” and

“threatening or harassing” the plaintiff. 239 F.3d at 176. Noting that

the district court held the defendant in contempt under the injunction



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for chanting “Shame on You” and “No More Lies,” the Second Circuit

held the injunction was an unconstitutional prior restraint that

“fr[o]ze” legitimate, protected speech because the injunction was “so

vague and imprecise that the [defendant] cannot fairly determine what

future speech is permitted and what speech might place it in

contempt.” Id. at 176, 178-79.

     The injunction here suffers from the same lack of definition. In

shaping its prohibitions, the injunction merely incants general

principles—which is platitude, not guidance. For example, carving out

“threats that threaten the public safety or security of the United States”

is no more informative than the enjoined “threatening or harassing” of

plaintiff in Metropolitan Opera. Compare ROA.26615, with Metro.

Opera, 239 F.3d at 176. No more illuminating is basing the injunction’s

prohibitions on whether a social media post is “protected free speech”

or “protected by the Free Speech Clause of the First Amendment to the

United States Constitution in accordance with the jurisprudence of the

United States Supreme Court.” ROA.26660; ROA.26613-14. Indeed, it

is precisely because “the line between legitimate and illegitimate

speech is often so finely drawn” that “a free society prefers to punish



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the few who abuse rights of speech after they break the law than to

throttle them and all others beforehand.” Se. Promotions, Ltd. v.

Conrad, 420 U.S. 546, 559 (1975).

     The other enumerated carveouts fare no better. The injunction

time and again resorts to conclusory terms like “criminal activity,”

“criminal conspiracies,” “national security threats,” “criminal efforts to

suppress voting,” “threats that threaten the public safety or security of

the United States,” and “postings intending to mislead voters about

voting requirements and procedures.” A government official may well

not know at the outset whether online conduct fits into one of those

categories absent further investigation and discussion with social

media companies or until the culmination of a lawsuit. Where

investigation crosses into final determination—of “criminal efforts,”

say—is often not binary. And if investigation alone is a sufficient

purpose to meet an exception, then the exceptions swallow the rule and

the injunction is meaningless—it serves no purpose other than to

paralyze those charged with protecting elections.

     Indeed, the injunction is even vague about which entities are

prohibited from collaborating with the government. An injunction can



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 hardly get vaguer than “and like companies” (ROA.26612, defining

 “social media companies”) and “or any like project or group”

 (ROA.26613, identifying organizations with whom Defendants may not

 collaborate, coordinate, partner, or switchboard). Rather than

 specifically enumerating subject entities, the injunction leaves it to the

 reader to predict the roster—at their peril.

      The resulting opaqueness leaves amici and comparable private

actors, as well as Defendants, helpless to divine the injunction’s dividing

line between permitted and prohibited. Social media posts about the

security of mail-in voting could well come within exceptions for

“informing social-media companies of postings intending to mislead

voters about voting requirements and procedures” (ROA.26615)—or not,

since they could equally fall within proscribed conduct. Obeying the law

is not supposed to be a guessing game, particularly where constitutional

rights are concerned.

      D.    The Injunction Inhibits Amici’s Ability to Discuss
            Election Protection Matters with the Government.

      The injunction’s crippling overbreadth and vagueness will chill

critical   information-sharing    between     organizations      like   Election

Protection, local election officials, federal agencies, and social media


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companies. This in turn will hobble citizens from making informed

decisions and participating in elections.

     The immediate chilling effects are obvious: government will cease

engaging with social media companies and voter protection organizations

to avoid the risk of contempt. This has already happened. One day after

the injunction’s issuance, the State Department cancelled its regular

monthly meetings with Facebook “pending further guidance.” Joseph

Menn et al., State Dept. cancels Facebook meetings after judge’s

‘censorship’     ruling,      Wash.          Post       (Jul.      5,      2023),

https://www.washingtonpost.com/technology/2023/07/05/missouri-biden-

judge-censorship-ruling-analysis/. Facebook’s spokesperson anticipated

that Facebook’s regular meetings with other executive agencies, such as

CISA, were also likely to be cancelled given the injunction. Id. Just as the

State Department cancelled meetings with Facebook, other enjoined

government agencies and officials will be chilled from meeting with amici

to discuss Election Protection priorities. See Factual Background, § III,

supra. This will undermine amici’s critical voter protection missions.

     The injunction will likewise chill communications between Election

Protection and state and local election officials. Election officials must be



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able to combat disinformation to administer free and fair elections,

including by reporting falsehoods they learn about from voters and civil

society groups such as Election Protection to those who host social media

platforms. But there is no limiting principle in this injunction to prevent

a similar injunction being issued against state actors beyond the federal

Defendants. Consequently, state and local election officials could be

intimidated from working with Election Protection or from directly or

indirectly combatting disinformation.

      The injunction’s chilling effects imperil Election Protection’s core

mission.

II.   THE INJUNCTION’S VAGUENESS AND OVERBREADTH
      VIOLATE FEDERAL RULE 65.
      In addition to violating the Constitution, the injunction runs afoul

of the Federal Rules of Civil Procedure.

      Rule 65(d)(1) commands that a preliminary injunction order “state

its terms specifically” and “describe in reasonable detail” the conduct to

be enjoined. Fed. R. Civ. Proc. 65. This Court has cautioned against

injunctions containing “broad generalities” rather than describing

enjoined conduct in sufficient detail. Scott v. Schedler, 826 F.3d 207, 213-

14 (5th Cir. 2016). These requirements are not simply “technical,”


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Schmidt v. Lessard, 414 U.S. 473, 476 (1974), and a vague injunction can

result in “deadly” consequences. U. S. Steel Corp. v. United Mine Workers

of Am., 519 F.2d 1236, 1246 (5th Cir. 1975). “An overbroad injunction is

subject to vacatur.” Union Pac. R.R. Co. v. City of Palestine, 2021 WL

1164396, at *1 (E.D. Tex. Mar. 25, 2021); Francisco Sanchez v. Esso

Standard Oil Co., 572 F.3d 1, 15 (1st Cir. 2009) (order that fails to comply

with these requirements “should be set aside on appeal”) (internal

quotations omitted). The district court’s injunction violates both Rule 65

and the prohibition on overbroad injunctions.

     A.    The Injunction is Unspecific and Undefined.

     An injunction is sufficiently defined where “an ordinary person

reading the court’s order should be able to ascertain from the document

itself exactly what conduct is proscribed.” U.S. Steel Corp., 519 F.2d at

1246 n.20. The instant injunction fails this test. As described above, the

injunction leaves key terms undefined. See Scott, 826 F.3d at 207 (vague

injunction found impermissible under Rule 65 where key terms and

policies remained undefined); John Doe #1 v. Veneman, 380 F.3d 807, 820

(5th Cir. 2004) (same). It requires amici to guess the proscribed conduct.

See Consolidation Coal Co. v. Disabled Miners of S. W. Va., 442 F.2d



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1261, 1267 (4th Cir. 1971) (holding the term “any other manner” rendered

injunction indefinite). And its confusing and contradictory carveouts

create additional ambiguity. For these reasons, the injunction violates

Rule 65.

     B.     The Injunction is Overbroad.

     Because “[t]he scope of injunctive relief is dictated by the extent of

the violation established . . . the district court must narrowly tailor an

injunction to remedy the specific action which gives rise to the order.”

John Doe #1, 380 F.3d at 818 (cleaned up). An injunction is overbroad

where it exceeds the legal basis of the lawsuit and the “extent of the

violation established.” Califano v. Yamasaki, 442 U.S. 682, 702 (1979). It

is within the power of the court to “mould each decree to the necessities

of the particular case.” B. H. Bunn Co. v. AAA Replacement Parts Co., 451

F.2d 1254, 1269 (5th Cir. 1971); Barbee v. Collier, 2022 WL 16860944, at

*2 (5th Cir. Nov. 11, 2022), cert. denied, 143 S. Ct. 440 (2022) (“A district

court abuses its discretion if it issues an injunction that ‘is not narrowly

tailored to remedy the specific action which gives rise to the order as

determined by the substantive law at issue.’”) (internal citations

omitted).



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     The injunction exudes overbreadth. It restrains an untold number

of individuals and entities regardless of their involvement in the alleged

wrongs and uses language like “and like companies” and “or any like

project or group.” See E.T. v. Paxton, 19 F.4th 760, 769 (5th Cir. 2021)

(injunction overbroad where it was not limited to the parties in the case);

Consolidation Coal, 442 F.2d at 1267 (holding the term “any other

manner” was overbroad because order could apply to conduct far beyond

the complained-of violations). Indeed, the injunction’s sweeping

proscription is akin to an “Obey the Law” order, which courts regularly

deem violative of Rule 65. N.L.R.B. v. Express Pub. Co., 312 U.S. 426, 435

(1941); see also Payne v. Travenol Lab’ys, Inc., 565 F.2d 895, 898 (5th Cir.

1978).

     Not only is the injunction substantively violative, it is also

procedurally improper. These defects are no small matter. They strike at

core First Amendment tenets, and will have grave consequences on

amici’s ability to carry out their missions to protect the right to vote.




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                             CONCLUSION

     The Court should vacate the district court’s injunction.

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                      CERTIFICATE OF SERVICE

     I hereby certify that on July 28, 2023, I electronically filed the

foregoing brief with the Clerk of the Court of the United States Court of

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     The undersigned counsel certifies that this brief:

     (i) complies with the type-volume limitation of Federal Rule of

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